                           UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF OHIO
                                   CANTON DIVISION

 In Re:                                            Case No. 19-60627-rk

 Michael J. Jenkins
                                                   Chapter 7
 Sara J. Jenkins

 Debtor(s).                                        Judge Russ Kendig

                                  NOTICE OF APPEARANCE

       Now comes Molly Slutsky Simons, an attorney admitted to practice in the U.S.
Bankruptcy Court, Northern District of Ohio, and enters an appearance on behalf of Home Point
Financial Corporation (‘Creditor’), in the above captioned proceedings.

                                                   Respectfully Submitted,

                                                   /s/ Molly Slutsky Simons
                                                   Molly Slutsky Simons (0083702)
                                                   Sottile & Barile, Attorneys at Law
                                                   P.O. Box 476
                                                   Loveland, OH 45140
                                                   Phone: 513.444.4100
                                                   Email: bankruptcy@sottileandbarile.com
                                                   Attorney for Creditor

                                 CERTIFICATE OF SERVICE

I certify that on April 3, 2019, a true and correct copy of this Notice was served:

Via the Court’s ECF System on these entities and individuals who are listed on the Court’s
Electronic Mail Notice List:

          Gregory John Tarkowsky, Debtors’ Counsel
          gjtarkowsky@tarklaw.com

          Josiah L. Mason, Trustee
          jlmasontrustee@zoominternet.net

          Office of the U.S. Trustee
          (registeredaddress)@usdoj.gov




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And by regular U.S. Mail, postage pre-paid on:

       Michael J. Jenkins, Debtor
       535 Reed Road
       Mansfield, OH 44903

       Sara J. Jenkins, Debtor
       535 Reed Road
       Mansfield, OH 44903

                                                  /s/ Molly Slutsky Simons
                                                  Molly Slutsky Simons (0083702)
                                                  Attorney for Creditor




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